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  1 NICOLAS A. JAMPOL (State Bar No. 244867)
     nicolasjampol@dwt.com
  2 DIANA PALACIOS (State Bar No. 290923)
     dianapalacios@dwt.com
  3 CYDNEY SWOFFORD FREEMAN (State Bar No. 315766)
     cydneyfreeman@dwt.com
  4 CAMILA PEDRAZA (State Bar No. 329984)
     camilapedraza@dwt.com
  5 DAVIS WRIGHT TREMAINE LLP
    865 South Figueroa Street, 24th Floor
  6 Los Angeles, California 90017-2566
    Telephone: (213) 633-6800
  7 Fax: (213) 633-6899
  8 Attorneys for Defendants
    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13
                                         UNITED STATES DISTRICT COURT
 14
                                   CENTRAL DISTRICT OF CALIFORNIA
 15
 16 FRANCESCA GREGORINI,                                   Case No. 2:20-cv-00406-JFW-JC
 17                                      Plaintiff,        DECLARATION OF CYDNEY
                                                           SWOFFORD FREEMAN IN
 18            vs.                                         SUPPORT OF DEFENDANTS’
                                                           MOTION FOR ATTORNEYS’ FEES
 19 APPLE INC., a California corporation;
    M. NIGHT SHYAMALAN, an
 20 individual, BLINDING EDGE
    PICTURES, INC., a Pennsylvania
 21 corporation; UNCLE GEORGE
    PRODUCTIONS, a Pennsylvania
 22 corporate; ESCAPE ARTISTS LLC, a
    California limited liability company;
 23 DOLPHIN BLACK PRODUCTIONS, a
    California corporation; TONY
 24 BASGALLOP, an individual; ASHWIN
    RAJAN, an individual; JASON
 25 BLUMENTHAL, an individual; TODD
    BLACK, an individual; STEVE TISCH,
 26 an individual; and DOES 1-10, inclusive,
 27                                      Defendants.
 28
                                                       1                    DAVIS WRIGHT TREMAINE LLP
      FREEMAN DECLARATION ISO DEFTS’                                           865 S. FIGUEROA ST, SUITE 2400
      MOTION FOR ATTORNEYS’ FEES                                            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                         (213) 633-6800
      4831-0739-2960v.2 0113237-000003                                                 Fax: (213) 633-6899
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  1                   DECLARATION OF CYDNEY SWOFFORD FREEMAN
  2            I, Cydney Swofford Freeman, declare as follows:
  3            1.        I am an attorney admitted to practice before all courts of the State of
  4 California and before this Court. I am an associate in the law firm of Davis Wright
  5 Tremaine LLP (“DWT”), and I am one of the attorneys representing defendants
  6 Blinding Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc.
  7 (“Apple”), Escape Artists, Inc. (erroneously sued as Escape Artists LLC), Dolphin
  8 Black Productions, M. Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason
  9 Blumenthal, Todd Black, and Steve Tisch (collectively “Defendants”) in this
 10 matter. The facts stated below are based on my own personal knowledge, and on
 11 my review of DWT’s regularly maintained billing records, as described below.
 12            2.        In advance of filing Defendants’ motion to dismiss the initial
 13 complaint, my colleague Nicolas A. Jampol and I attended the Court’s required pre-
 14 filing conference of counsel with plaintiff Francesca Gregorini’s counsel David
 15 Erickson. The conference took place on February 11, 2020, at Mr. Erikson’s office.
 16 During that conference, Mr. Jampol and I explained in detail that Plaintiff’s film
 17 The Truth About Emanuel (“Emanuel”) and Servant shared almost no similarity of
 18 protectable expression, let alone substantial similarity. Mr. Erikson did not mention
 19 any intention to amend Plaintiff’s complaint during that meeting, or at any other
 20 time before Defendants filed their initial motion to dismiss on February 18, 2020.
 21            3.        The motions to dismiss Plaintiff’s claims were handled primarily by
 22 DWT partner Nicolas A. Jampol as lead counsel; associate Camila Pedraza; and
 23 myself. The following chart reflects the negotiated billing rates DWT charged in
 24 this matter for each attorney (third column), as well as each attorney’s standard
 25 2020 billing rates (last column):
 26 //
 27 //
 28 //
                                                      2                       DAVIS WRIGHT TREMAINE LLP
      FREEMAN DECLARATION ISO DEFTS’                                             865 S. FIGUEROA ST, SUITE 2400
      MOTION FOR ATTORNEYS’ FEES                                              LOS ANGELES, CALIFORNIA 90017-2566
                                                                                           (213) 633-6800
      4831-0739-2960v.2 0113237-000003                                                   Fax: (213) 633-6899
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  1    Name                               Title      Negotiated Rate     2020 Standard Rate
  2    Nicolas A. Jampol                  Partner    $541                $650
  3    Cydney Swofford Freeman Associate $362                            $490
  4    Camila Pedraza                     Associate $281                 $410
  5            4.        Mr. Jampol is a media & entertainment partner in the Los Angeles
  6 office of DWT. He graduated cum laude from the University of Michigan Law
  7 School in 2006, and litigates primarily content-related claims, with a particular
  8 emphasis on copyright claims. In 2018, Variety recognized Mr. Jampol as one of
  9 “Hollywood’s New Leaders.” See
 10 https://variety.com/2018/film/spotlight/hollywoods-new-leaders-law-2-
 11 1202982505/.
 12            5.        I am a media & entertainment associate in the Los Angeles office of
 13 DWT. I graduated from New York University School of Law in 2015 and routinely
 14 litigate and counsel clients on copyright, trademark, First Amendment, and other
 15 media matters.
 16      6.     Ms. Pedraza is a media & entertainment associate in the Los Angeles
 17 office of DWT. She graduated cum laude from the University of Miami School of
 18 Law in 2019, and has since worked on a variety of entertainment and intellectual
 19 property matters.
 20       7.    I have personally reviewed DWT’s billing records in this matter.
 21 Attached as Exhibit 1 is a true and correct copy of the daily time entries from each
 22 DWT timekeeper, with descriptions of the work performed by each professional on
 23 each day. These entries have been redacted to remove entries for which Defendants
 24 do not seek to recover fees and to protect privileged information.
 25 //
 26 //
 27 //
 28
                                                    3                       DAVIS WRIGHT TREMAINE LLP
      FREEMAN DECLARATION ISO DEFTS’                                          865 S. FIGUEROA ST, SUITE 2400
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                                                                                        (213) 633-6800
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  1            8.        This chart summarizes the total number of time requested for each
  2 professional:
  3    Phase                    Attorney      Hours            Rate                Total
  4    Motion to                Nicolas A.    124.1            $541                $67,138.10
       Dismiss Initial          Jampol
  5    Complaint                (Partner)
  6    (including               Cydney        96               $362                $34,752.00
       RJN)                     Swofford
  7                             Freeman
  8                             (Associate)
                                Camila        61.2             $281                $17,197.20
  9                             Pedraza
 10                             (Associate)
 11    Total                                  281.3                                $119,087.30
       Motion to                Nicolas A.    35.6             $541                $19,259.60
 12    Dismiss FAC              Jampol
 13    (including               (Partner)
       RJN)                     Cydney        59.8             $362                $21,647.60
 14
                                Swofford
 15                             Freeman
                                (Associate)
 16
                                Camila        8.8              $281                $2,472.80
 17                             Pedraza
                                (Associate)
 18
       Total                                  104.2                                $43,380.00
 19
       OVERALL TOTAL                          385.5                                $162,467.30
 20
               9.        As reflected in Exhibit 1 and the chart at Paragraph 8, Defendants have
 21
      incurred $162,467.30 in fees for which they seek reimbursement.
 22
               10.       Defendants do not seek reimbursement for the significant time spent on
 23
      this matter by Apple Inc.’s in-house counsel, Jesse Koehler. Neither do Defendants
 24
      seek reimbursement for the time spent on this matter by DWT counsel Diana
 25
      Palacios or DWT paralegals Jodi Savitsky and Benjamin Planchon, who assisted
 26
      with the motions to dismiss and in other areas of the defense. Defendants also do
 27
      not seek reimbursement for the fees incurred in responding to the 17 sets of written
 28
                                                      4                     DAVIS WRIGHT TREMAINE LLP
      FREEMAN DECLARATION ISO DEFTS’                                           865 S. FIGUEROA ST, SUITE 2400
      MOTION FOR ATTORNEYS’ FEES                                            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                         (213) 633-6800
      4831-0739-2960v.2 0113237-000003                                                 Fax: (213) 633-6899
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  1 discovery that Plaintiff served on Defendants, including 112 different requests for
  2 production.
  3            11.       DWT’s attorneys’ fees incurred in this action were reasonable and
  4 necessary for the defense against Plaintiff’s copyright claims.
  5
  6            I declare under penalty of perjury under the laws of the United States of
  7 America and the State of California that the foregoing is true and correct, and that
  8 this Declaration was executed on the 23rd day of June, 2020, in Los Angeles,
  9 California.
 10
                                                          Cydney Swofford Freeman
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                                                    5                      DAVIS WRIGHT TREMAINE LLP
      FREEMAN DECLARATION ISO DEFTS’                                          865 S. FIGUEROA ST, SUITE 2400
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                                                                                        (213) 633-6800
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